            Case 3:14-cv-01509-SK         Document 270       Filed 09/26/24     Page 1 of 1




 1 ISMAIL J. RAMSEY (CABN 189820)
   United States Attorney
 2 PAMELA T. JOHANN (CABN 145558)
   Chief, Civil Division
 3 MICHAEL T. PYLE (CABN 172954)
   Assistant United States Attorney
 4 150 Almaden Boulevard, Suite 900
   San Jose, California 95113
 5 Telephone: (408) 535-5087
   Email: michael.t.pyle@usdoj.gov
 6
   Attorneys for the United States of America
 7
                                UNITED STATES DISTRICT COURT
 8
                             NORTHERN DISTRICT OF CALIFORNIA
 9
                                    SAN FRANCISCO DIVISION
10
   UNITED STATES ex rel. KEVIN                    ) CASE NO.        14-cv-01509-SK
11 MCLAUGHLIN,                                    )
                                                  )
12                                                ) UNITED STATES’ RESPONSE TO
                  Plaintiff,                      ) COURT ORDER (ECF No. 268)
13                                                )
           v.                                     )
14                                                )
   SHAW ENVIRONMENTAL &                           )
15 INFRASTRUCTURE, INC. et al.,                   )
                                                  )
16              Defendants.                       )
                                                  )
17
          The United States of America appreciates the Court’s invitation to provide its position on
18
   the pending motions to dismiss this case. ECF No. 268. The United States takes no position on
19
   the pending motions to dismiss.
20
   Dated: September 26, 2024                          Respectfully submitted,
21
                                                      ISMAIL J. RAMSEY
22                                                    United States Attorney
23
                                                    By: /s/ Michael T. Pyle
24                                                      MICHAEL T. PYLE
                                                        Assistant United States Attorney
25
                                                        Counsel for the United States
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     UNITED STATES’ RESPONSE TO COURT ORDER
     Case No. 14-cv-01509-SK                        1
